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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY

SHARI R. WETHINGTON,                        )
                                            )
       Plaintiff,                           )
                                            )
vs.                                         )      CASE NO. 3:17-cv-00687-TBR
                                            )
EQUIFAX INFORMATION SERVICES                )
LLC, et al.,                                )
                                            )
       Defendants.                          )

                         NOTICE OF VOLUNTARY DISMISSAL

       NOW COMES Plaintiff, Shari R. Wethington, pursuant to Fed. R. Civ. P. 41(a)(1)(A)

and files this Notice to Dismiss with prejudice the above-referenced action against Defendant,

Equifax Information Services LLC, only, who has neither filed an Answer nor Motion for

Summary Judgment in this action. Each party shall bear its own fees and costs.

       Respectfully submitted this 22nd day of February, 2018.

                                                   HEMMINGER LAW OFFICE, PSC

                                                   /s/ David W. Hemminger
                                                   David W. Hemminger
                                                   HEMMINGER LAW OFFICE, P.S.C.
                                                   616 S. Fifth Street
                                                   Louisville, KY 40202
                                                   Attorney for Plaintiff Shari R. Wethington
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of February, 2018, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following:

Kendall Carter
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1180 Peachtree Street
Atlanta, GA 30309

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                                           /s/ David W. Hemminger
                                           David W. Hemminger




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